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                             UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF TEXAS
                                    AUSTIN DIVISION

EVDOKIA NIKOLOVA                                 §
  Plaintiff,                                     §
                                                 §
V.                                               §                   CASE NO. 1:19-cv-00877-RP
                                                 §
UNIVERSITY OF TEXAS AT                           §
AUSTIN,                                          §
  Defendant.                                     §

                       JOINT MOTION FOR JURY QUESTIONNAIRE

TO THE HONORABLE JUDGE ROBERT PITMAN:

       Plaintiff Evdokia Nikolova and Defendant University of Texas at Austin jointly submit

the proposed Jury Questionnaire attached as Exhibit A and respectfully request that this

Honorable Court send the questionnaire to the jury panel in this case and ask that the prospective

jurors return the questionnaire in advance of trial for review by the parties and the Court. The

parties believe that the additional information obtained from the questionnaire will assist the

parties and Court in selecting a jury in this case.

Respectfully submitted:


/s/ Robert W. Schmidt                                 KEN PAXTON
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                                              ATTORNEYS FOR DEFENDANT



                              CERTIFICATE OF SERVICE

        On February 15, 2022, I electronically submitted the foregoing document with the Clerk
of the Court of the United States District Court for the Western District of Texas, using the
electronic case filing system of the Court. I hereby certify that I have served all counsel of
record electronically using the CM/ECF filing system or by any other manner authorized by
Federal Rule of Civil Procedure (5)(b)(2).



                                                  /s/ Robert W. Schmidt
                                                  Robert W. Schmidt




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